Case 8:18-cr-00326-TPB-TGW Document 80 Filed 10/21/20 Page 1 of 8 PageID 589



                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

UNITED STATES OF AMERICA,

v.                                                   Case No. 8:18-cr-326-T-60TGW

ROBERT DAYON DUMAS,

      Defendant.
__________________________________/

 ORDER DENYING “DEFENDANT’S MOTION TO SUPPRESS EVIDENCE”

      This matter is before the Court on “Defendant’s Motion to Suppress

Evidence,” filed by counsel on February 21, 2020. (Doc. 43). On March 6, 2020, the

United States of America filed a response in opposition to the motion. (Doc. 49).

The Court held a suppression hearing on July 27, 2020. (Docs. 71; 72). After the

hearing, the parties submitted written closing arguments the last one having been

received on September 28, 2020. (Docs. 77; 79). After reviewing the motion,

response, testimony, evidence, closing arguments, court file, and the record, the

Court finds as follows:

                                   Background

      From February 8, 2018, until February 13, 2018, an unidentified man

committed a series of five violent, armed robberies in Wesley Chapel, Florida.

During these robberies, the man held victims at gunpoint, and he discharged his

weapon on at least one occasion. These robberies were investigated by the Pasco

County Sheriff’s Office “STAR Team.” Corporal Andrew Denbo was a member of

the team and involved in the investigations.


                                      Page 1 of 8
Case 8:18-cr-00326-TPB-TGW Document 80 Filed 10/21/20 Page 2 of 8 PageID 590



       On March 11, 2018, Corporal Denbo, while coming out of his own

neighborhood, conducted a traffic stop after he observed Defendant, as indicated on

radar, traveling at 75 m.p.h. According to Corporal Denbo, during the traffic stop,

he noticed the odor of marijuana emanating from the vehicle. Corporal Denbo

ordered Defendant out of the vehicle. After Defendant was ordered out of the

vehicle, Defendant advised Corporal Denbo that there was a firearm in the car. As

Corporal Denbo went to secure the firearm, he observed pieces of marijuana

embedded in the floor and seat area of the vehicle, along with a marijuana cigarette

and digital scale. Corporal Denbo also observed items that he believed to be related

to the robbery spree that he was investigating, including a firearm, a black mask,

and shoes.

       Corporal Denbo read Defendant his Miranda rights from an agency-issued

card. This interaction was captured on Corporal Denbo’s body camera. Defendant

agreed to waive his rights and answered some questions. Later, he signed a written

document evidencing his waiver of Miranda rights.1 In subsequent interviews,

Defendant admitted to being involved in all five robberies.

       In his motion, Defendant does not challenge the validity of the traffic stop.

Instead, Defendant argues that there was no probable cause to support the

warrantless search of his vehicle. Defendant contends that because the search was

illegal, all evidence derived from the search must be suppressed.




1 The Court notes that Defendant signed a box on a multipurpose form that included a
statement outlining his Miranda rights. Although did not sign the “waiver” box, it is clear
from the signature on the form that he was aware of and waived his Miranda rights.
                                         Page 2 of 8
Case 8:18-cr-00326-TPB-TGW Document 80 Filed 10/21/20 Page 3 of 8 PageID 591



                                      Analysis

Search of Automobile

      “The Fourth Amendment protects individuals from unreasonable search and

seizure.” United States v. Holt, 777 F.3d 1234, 1256 (11th Cir. 2015); see U.S.

Const. amend. IV. “A warrantless search of an automobile is constitutional if . . .

there is probable cause to believe that it contains contraband or evidence of a

crime.” United States v. Smith, 596 F. App’x 804, 807 (11th Cir. 2015). Probable

cause is based on the totality of the circumstances and must be viewed from the

standpoint of an objectively reasonable police officer. United States v. Roy, 869 F.2d

1427, 1433 (11th Cir. 1989). The law is well-settled that an officer’s detection of the

odor of marijuana coming from a vehicle provides the officer with probable cause to

search the vehicle. See, e.g., United States v. Johnson, 445 F. App’x 311, 313 (11th

Cir. 2011); Smith, 596 F. App’x at 807; United States v. Tobin, 923 F.2d 1506, 1512

(11th Cir. 1991) (en banc).

      Upon review, the Court finds that suppression is not warranted because

Corporal Denbo had probable cause to search the vehicle based on the odor of

marijuana emanating from the vehicle. At the suppression hearing, the only

witness who testified as to the encounter was Corporal Denbo. The Court initially

finds Corporal Denbo’s testimony to be credible. During his lengthy testimony,

Corporal Denbo was professional, calm, and courteous. See United States v. Sims,

No. 9:19-cr-80106, 2019 WL 7879878, at *5 (S.D. Fla. Dec. 20, 2019) (finding

testimony of officer credible in part because his demeanor was “honest, professional,

and courteous.”). His testimony was largely internally consistent and consistent

                                       Page 3 of 8
Case 8:18-cr-00326-TPB-TGW Document 80 Filed 10/21/20 Page 4 of 8 PageID 592



with what was eventually found in the vehicle. See United States v. Rembert, No.

1:17-cr-316-MHC-AJB, 2018 WL 7283630, at *11 (N.D. Ga. Dec. 6, 2018) (finding

officer’s testimony that he detected the odor of marijuana credible in part because

the search of the vehicle uncovered unburned marijuana). Corporal Denbo testified

about his extensive training and experience with marijuana in his law enforcement

career, which supports his credibility with respect to identifying the odor of

marijuana. See United States v. Clark, 605 F. App’x 892, 895 (11th Cir. 2015).

Although there was no other officer present at the time of the traffic stop to

corroborate Corporal Denbo’s testimony that he detected the odor of marijuana, this

fact neither defeats nor minimizes his credibility. The Court notes that Defendant

did not present any testimony or evidence to contradict Corporal Denbo’s testimony.

      According to Corporal Denbo’s credible testimony, he detected the odor of

marijuana emanating from the vehicle. He therefore had a particularized and

objective basis for believing that the vehicle contained marijuana. See United

States v. Green, No. 3:20-cr-18/MCR, 2020 WL 4059721, at *6 (N.D. Fla. July 20,

2020). Considering the totality of the circumstances, the Court concludes that

Corporal Denbo possessed probable cause to support the search of the vehicle.

Seizure of Firearm and Personal Belongings

      In his motion, Defendant argues that even if the Court were to find that the

vehicle search was constitutional, the seizure of items found during the search could

only extend to items related to crimes for which there was probable cause, so items

such as the clothing, personal items, a firearm, and Nike sneakers would still



                                       Page 4 of 8
Case 8:18-cr-00326-TPB-TGW Document 80 Filed 10/21/20 Page 5 of 8 PageID 593



require suppression because they were unrelated to the offense of possession of

marijuana.

      As previously noted, Corporal Denbo had probable cause to search the vehicle

based on his detection of the odor of marijuana. When he searched the vehicle, he

found marijuana and marijuana paraphernalia, along with items that Corporal

Denbo believed linked Defendant to a string of recent armed robberies. Corporal

Denbo’s belief that those items were linked to a string of recent armed robberies

was not mere speculation. As it turns out, Corporal Denbo had personally

investigated some of those robberies so he had particularized familiarity with the

circumstances of those crimes. Even if the items were not specifically connected to

the initial charge of marijuana possession, there is no basis to suppress the items

because they were found in plain view during a lawful search of the vehicle. See,

e.g., Coolidge v. New Hampshire, 403 U.S. 443, 466 (1971) (explaining that the plain

view doctrine permits the warrantless seizure of evidence when an officer

inadvertently comes across a piece of evidence incriminating the accused); Harris v.

United States, 390 U.S. 234, 236 (1968) (“It has long been settled that objects falling

in the plain view of an officer who has a right to be in the position to have that view

are subject to seizure and may be introduced in evidence.”).

Arrest

      Defendant contends that his arrest was not supported by probable cause.

Corporal Denbo arrested Defendant for possession of marijuana. The arrest was

based on Corporal Denbo’s detection of the odor of marijuana, observation of

marijuana in the vehicle, and Defendant’s statements admitting that he used

                                       Page 5 of 8
Case 8:18-cr-00326-TPB-TGW Document 80 Filed 10/21/20 Page 6 of 8 PageID 594



marijuana. Based on these facts, established by Corporal Denbo’s credible

testimony, the Court finds that there was sufficient probable cause to support

Defendant’s arrest for possession of marijuana. See, e.g., Smith, 481 F. App’x at

543-44.

Miranda Waiver

      In his motion, Defendant also argues that his statements should be

suppressed because he was not properly advised of his Miranda rights, making his

waiver unknowing and involuntary. The Supreme Court has established a two-step

inquiry that courts use to consider whether a defendant’s waiver of his Miranda

rights was knowing and voluntary. See United States v. Barbour, 70 F.3d 580, 585

(11th Cir. 1995) (citing Moran v. Burbine, 475 U.S. 412 (1986)).

      First, the relinquishment of the right must have been voluntary in the
      sense that it was the product of a free and deliberate choice rather
      than intimidation, coercion, or deception. Second, the waiver must
      have been made with a full awareness of both the nature of the right
      being abandoned and the consequences of the decision to abandon it.
      Only if the “totality of the circumstances surrounding the
      interrogation” reveal both an uncoerced choice and the requisite level
      of comprehension may a court properly conclude that
      the Miranda rights have been waived.

Moran, 475 U.S. at 421.

      At the time of the stop, Defendant was 23 years old and had a high school

education. Corporal Denbo testified that he read Defendant his Miranda rights

from an agency issued card. After being read his rights, Defendant acknowledged

that he understood his rights and agreed to speak with investigators. This

interaction was captured on Corporal Denbo’s body camera and was admitted into

evidence at the suppression hearing. Corporal Denbo testified that, after being

                                      Page 6 of 8
Case 8:18-cr-00326-TPB-TGW Document 80 Filed 10/21/20 Page 7 of 8 PageID 595



transported to the district office, Defendant again waived his Miranda rights and

signed a written document evidencing his waiver. A copy of that waiver was

admitted into evidence at the suppression hearing. There was no evidence

presented at the hearing to show that Defendant did not understand the Miranda

warnings, that his statements were coerced, or that Defendant otherwise did not

knowingly and voluntarily waive his Miranda rights.

       After being advised of his Miranda rights on two separate occasions,

Defendant agreed to participate in a recorded interview during which he made

incriminating statements. Because Defendant knowingly and voluntarily waived

his Miranda rights, these statements are admissible under well-settled principles of

law.

                                       Conclusion

       Defendant takes issue with the fact that Corporal Denbo did not utilize his

body camera during the majority of his encounter with Defendant, and even when

he did, there appear to have been numerous instances where it was activated for a

period of time and then turned off. Defendant’s arguments in this regard are

certainly reasonable and raise credibility concerns. With the advent of modern

technology, including mobile phones that can accurately record audio and video for

long periods of time, it is increasingly difficult to understand why law enforcement

officers are either unwilling or unable to consistently record encounters with the

public.2 Particularly in times such as these in which we now live – when law


2Corporal Denbo indicated he had issues charging the battery on his body camera on the
date in question. He also admitted on cross examination that his failure to fully record his
encounter with Defendant was in violation of his Agency’s policies.
                                         Page 7 of 8
Case 8:18-cr-00326-TPB-TGW Document 80 Filed 10/21/20 Page 8 of 8 PageID 596



enforcement officers seem to be under constant suspicion of malfeasance and are

routinely accused of wrong-doing – common sense suggests they should record

everything they do, if for no other reason than their own protection. Furthermore,

from the Court’s perspective, body cameras seem to be extremely useful as a

practical matter because they frequently reduce, if not eliminate, the need for

judges to take lengthy, and sometimes confusing, testimony from witnesses and

make difficult credibility determinations. Indeed, had Corporal Denbo recorded his

entire encounter with Defendant on his body camera in this case, it is highly

unlikely the instant motion would have even been filed in the first place.

      Nonetheless, as previously discussed, after very carefully considering the

credibility issues in this case, the Court has found Corporal Denbo’s testimony to be

credible. Although it is certainly the better practice for law enforcement officers to

record encounters with the public, there is no legal requirement that they do so.

Even though the encounter at issue here was not recorded, for the reasons

discussed, the Court finds Corporal Denbo’s testimony credible. Consequently,

“Defendant’s Motion to Suppress Evidence” is DENIED.

      DONE and ORDERED in Chambers, in Tampa, Florida, this 21st day of

October, 2020.




                                            TOM BARBER
                                            UNITED STATES DISTRICT JUDGE



                                       Page 8 of 8
